

ORDER

PER CURIAM.
AND NOW, this 17th day of April, 2006, upon consideration of the Report and Recommendations of the Disciplinary Board dated February 13, 2006, the Petition for Review and Exceptions and Objections and response thereto, the request for oral argument is denied pursuant to Rule 208(e)(4), Pa.R.D.E., and it is hereby
ORDERED that VIVIAN A. SYE-PAYNE be and she is SUSPENDED from the Bar of this Commonwealth for a period of one year and one day, and she shall comply with all the provisions of Rule 217, Pa.R.D.E.
It is further ORDERED that respondent shall pay costs to the Disciplinary Board pursuant to Rule 208(g), Pa.R.D.E.
Madame Justice BALDWIN would impose a nine-month suspension and one-year probation with a practice monitor.
